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                               UNITED STATES DISTRICT COURT
11                           NORTHERN DISTRICT OF CALIFORNIA

12    OMAR AMEEN,                                    )
              Petitioner,                            )
13                                                   )
             vs.                                     )
14                                                   )
                                                     )
15    MERRICK GARLAND, in his official               ) Case No.:
      capacity, Attorney General of the United       ) IMMIGRATION HABEAS CASE
16    States; ALEJANDRO MAYORKAS, in                 )
      his official capacity, Secretary of the U.S.   )
17    Department of Homeland Security;               )
      DAVID JENNINGS, in his official                )
18    capacity, Director of the San Francisco
      ICE Field Office
19
                    Respondents.
20

21

22                          VERIFIED PETITION FOR WRIT OF
                        HABEAS CORPUS PURSUANT TO 28 U.S.C. § 2241
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1                     Petitioner Omar Ameen respectfully asks the Court to issue a writ of habeas

2       corpus ordering his release from unlawful detention pursuant to 28 U.S.C. § 2241. He avers

3       as follows:

4                                             INTRODUCTION

5           1.        Mr. Ameen is the victim of a malicious campaign by the U.S. government, led

6                     by the Department of Justice, to strip him of his refugee status and to force his

7                     return to Iraq, where he faces certain torture and death on the basis of

8                     unsubstantiated rumors and blatant lies.

9           2.        The government’s allegations that Mr. Ameen is a terrorist and that he has

10                    engaged in terrorist activities are false and have no basis in fact.

11          3.        The government arrested Mr. Ameen in 2018 and placed him in extradition

12                    proceedings based on an Iraqi warrant for a 2014 murder that he did not

13                    commit.

14          4.        After Mr. Ameen spent more than two and a half years in U.S. Marshal custody,

15                    Magistrate Judge Edmund F. Brennan declined to order Mr. Ameen’s

16                    extradition, finding that the government’s accounting of events was dubious and

17                    that Mr. Ameen was not in Iraq when the murder occurred and could not have

18                    committed it.

19          5.        Judge Brennan rejected the government’s witnesses’ accounts of events,

20                    describing their statements as unreliable, implausible, and inconsistent. Judge

21                    Brennan also found that there was no corroborating evidence that Mr. Ameen

22                    had any involvement with the Islamic State (“ISIS”).

23          6.        Judge Brennan ordered Mr. Ameen’s immediate release from federal custody.

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1           7.      Instead of releasing Mr. Ameen, the U.S. Marshals transferred him to the

2                   custody of Immigration and Customs Enforcement (“ICE”) on April 21, 2021

3                   and, based on the August 16, 2018 Notice to Appear, pursued removal

4                   proceedings against him.

5           8.      In the removal proceedings, the government dropped the allegation regarding

6                   the 2014 murder in Iraq but otherwise continued to allege that Mr. Ameen

7                   engaged in terrorist activity and had ties to ISIS and other terrorist groups.

8           9.      On April 21, 2021, Mr. Ameen, through his extradition counsel, requested his

9                   release from ICE detention. On May 7, 2021, Mr. Ameen, through current

10                  immigration counsel, filed a supplemental release request with ICE. After the

11                  release requests, ICE continued to detain Mr. Ameen.

12          10.     After six full days of contested removal hearings spanning the course of four

13                  months, the immigration judge found that the government had not met its

14                  burden of proving its terrorism-based allegations against Mr. Ameen, while

15                  sustaining several allegations regarding misstatements on Mr. Ameen’s refugee

16                  application.

17          11.     Despite finding that the government had not proved that Mr. Ameen was

18                  involved with terrorism and finding that Mr. Ameen was not subject to

19                  mandatory detention based on the government’s allegations, the immigration

20                  judge denied Mr. Ameen’s request for bond.

21          12.     On December 17, 2021, the immigration judge issued a bond memorandum

22                  setting forth the basis for her decision. She found that the burden of proof was

23                  on Mr. Ameen to demonstrate he was not a danger or flight risk.

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1           13.    The immigration judge concluded that Mr. Ameen could not prove that he was

2                  not a danger because of his interactions with individuals associated with

3                  terrorist organizations—specifically, his cousin Ghassan.

4           14.    The immigration judge also concluded that Mr. Ameen was a flight risk because

5                  of the outstanding warrants for his arrest in Iraq while discounting the evidence

6                  of his family and community ties in the United States.

7           15.    Mr. Ameen has now been in ICE custody for over eight months, and he has

8                  been in federal custody for over three years in total.

9           16.    Mr. Ameen’s removal proceedings are still ongoing, and it is likely to be

10                 months or years before they are resolved.

11          17.    The government has never proven that Mr. Ameen participated in terrorist

12                 activities, was involved in terrorist organizations, or committed any acts of

13                 violence or terrorism, yet it continues to detain him, alleging he is a danger to

14                 the community and national security.

15          18.    His prolonged detention violates the Immigration and Nationality Act and the

16                 Due Process Clause of the Fifth Amendment of the U.S. Constitution and he

17                 seeks immediate release. Alternatively, he seeks a new bond hearing where the

18                 burden of proof is properly placed on the government.

19                                  JURISDICTION AND VENUE

20          19.    This Court has subject matter jurisdiction over this Petition pursuant to 28

21                 U.S.C. § 2241, 28 U.S.C. § 1331, and the Suspension Clause of the United

22                 States Constitution, Art. I, sec. 9, cl. 2.

23          20.    Mr. Ameen’s current detention constitutes a “severe restraint[ ]” on his

24                 individual liberty such that Petitioner is “in custody” of the Respondents in


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1                  violation of the laws of the United States. Hensley v. Mun. Court, 411 U.S. 345,

2                  351 (1973); 28 U.S.C. § 2241.

3           21.    While only the federal courts of appeals have jurisdiction to review removal

4                  orders through petitions for review under 8 U.S.C. § 1252(a), federal district

5                  courts have jurisdiction to hear habeas corpus claims by noncitizens challenging

6                  the lawfulness of detention by the Department of Homeland Security. See, e.g.,

7                  Jennings v. Rodriguez, 138 S.Ct. 830, 838–39 (2018); Demore v. Kim, 538 U.S.

8                  510, 514–15 (2003); Zadvydas v. Davis, 533 U.S. 678, 687 (2001).

9           22.    8 U.S.C. § 1226(e) does not prevent this Court from exercising jurisdiction over

10                 Mr. Ameen’s petition because he does not seek review of a discretionary

11                 decision but rather challenges his detention on constitutional and statutory

12                 grounds. Singh v. Holder, 638 F.3d 1196, 1202 (9th Cir. 2011) (“[A]lthough the

13                 Attorney General’s discretionary judgment . . . shall not be subject to review,

14                 claims that the discretionary process itself was constitutionally flawed are

15                 cognizable in federal court on habeas because they fit comfortably within the

16                 scope of § 2241.”) (citations omitted) (omission in original). See also Jennings,

17                 138 S. Ct. at 841 (“[B]ecause the extent of the Government’s detention

18                 authority is not a matter of ‘discretionary judgment,’ . . . respondent’s challenge

19                 to ‘the statutory framework that permits [their] detention without bail,’ falls

20                 outside of the scope of § 1226(e).”) (alteration in original).

21          23.    Pursuant to Braden v. 30th Judicial Circuit Court of Kentucky, 410 U.S. 484

22                 (1973) and 8 U.S.C. §§ 1391(b)(1), (2), venue is proper in the United States

23                 District Court for the Northern District of California.

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1           24.    Mr. Ameen is detained at the Golden State Annex, a facility that is under the

2                  jurisdiction of the ICE Field Office in San Francisco.

3           25.    As the Director of the ICE Field Office in San Francisco, Respondent David

4                  Jennings is located within the district and is one of Mr. Ameen’s legal

5                  custodians. Singh v. Barr, 20-CV-02346-VKD, 2020 WL 2512410, at *4 (N.D.

6                  Cal. May 15, 2020); Doe v. Barr, 20-CV-02263-RMI, 2020 WL 1984266, at *5

7                  (N.D. Cal. Apr. 27, 2020).

8                               ADMINISTRATIVE EXHAUSTION

9           26.    Although petitions under 28 U.S.C. § 2241 are not subject to statutory

10                 exhaustion requirements, Mr. Ameen has exhausted all reasonable

11                 administrative remedies here.

12          27.    Mr. Ameen moved for a custody redetermination in immigration court on

13                 December 2, 2021.

14          28.    On December 10, 2021, the immigration judge conducted a hearing and denied

15                 Mr. Ameen’s request for a custody redetermination. Mr. Ameen filed a notice of

16                 appeal of that decision to the Board of Immigration Appeals (“BIA”) on that

17                 same day. On December 23, 2021, the BIA issued a briefing schedule, ordering

18                 the parties to file briefs on or before January 13, 2022.

19          29.    Mr. Ameen is not required to wait for the outcome of his bond appeal to file this

20                 petition. The Ninth Circuit has made clear that administrative exhaustion will

21                 not deprive a court of jurisdiction to review an immigration bond determination.

22                 Hernandez v. Sessions, 872 F.3d 976, 988–89 (9th Cir. 2017).

23          30.    Nor is a prudential exhaustion of administrative remedies requirement

24                 appropriate in this case. There is an adequate record in this case to facilitate


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1                  judicial review and the BIA is not likely to correct the errors that occurred in the

2                  bond hearing.

3           31.    First, “the BIA has no jurisdiction to decide questions of the constitutionality of

4                  the immigration laws.” Liu v. Waters, 55 F.3d 421, 426 (9th Cir. 1995).

5           32.    Second, the BIA precedent places the standard of proof in bond proceedings on

6                  the detained noncitizen. See Matter of Adeniji, 22 I&N Dec. 1102, 1116 (BIA

7                  1999); Matter of Guerra, 24 I&N Dec. 37, 40 (2006). It has therefore adopted a

8                  clear position that is unlikely to change upon review of Petitioner’s appeal.

9                  Gonzales v. Dep't of Homeland Sec., 508 F.3d 1227, 1234 (9th Cir. 2007).

10          33.    The Puga factors govern when prudential exhaustion may be required,

11                 dependent upon (1) agency expertise; (2) potential for bypass of the

12                 administrative scheme; and (3) potential for the agency to correct its own

13                 mistakes through administrative review. See Puga v. Chertoff, 488 F.3d 812,

14                 815 (9th Cir. 2007). Even if these factors weighed in favor of requiring

15                 prudential exhaustion, this Court should waive the requirement because

16                 irreparable injury will result if Mr. Ameen must wait for the BIA to decide his

17                 bond appeal. Hernandez, 872 F.3d at 988; see also Marroquin Ambriz v. Barr,

18                 420 F. Supp. 3d 953, 961 (N.D. Cal. 2019), appeal dismissed sub nom. Ambriz

19                 v. Barr, No. 19-17559, 2020 WL 3429471 (9th Cir. Mar. 25, 2020) (noting the

20                 government’s concession that “there is no deadline by which the BIA must

21                 decide the appeal”).

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1           34.    If Mr. Ameen were required to wait for a decision from the BIA on his bond

2                  appeal, his unconstitutional deprivation of liberty would continue for months

3                  before he could pursue relief from this Court.

4                                              PARTIES

5           35.    Petitioner Omar Ameen is a 48-year-old husband and father of four who, prior

6                  to his detention, resided in Sacramento, California with his wife and children.

7                  He and his family entered the country as refugees from Iraq in 2014.

8           36.    Respondent Merrick Garland is the Attorney General of the United States, the

9                  most senior official in the U.S. Department of Justice (“DOJ”), and named in

10                 his official capacity. The Attorney General delegates responsibility over

11                 removal proceedings, including custody redeterminations, to the Executive

12                 Office of Immigration Review, which administers the immigration courts and

13                 the Board of Immigration Appeals. He is a legal custodian of Mr. Ameen with

14                 authority to authorize his release.

15          37.    Respondent Alejandro Mayorkas is the Secretary of the Department of

16                 Homeland Security (“DHS”) of the United States and named in his official

17                 capacity. ICE, which is detaining Mr. Ameen, is a sub-agency of DHS.

18          38.    Respondent David Jennings is the Director of the ICE Field Office in San

19                 Francisco and is a legal custodian of Mr. Ameen.

20                                    STATEMENT OF FACTS

21   I. Mr. Ameen’s Background

22          39.    Mr. Ameen is a 48-year-old Sacramento resident who has lived in the United

23                 States for over seven years. See Waldron Decl. Exh. A at 20–42, 64. He arrived

24                 in the United States on November 4, 2014 as a refugee from Iraq. Id. at 41.


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1           40.    Mr. Ameen has no prior criminal record, nor was he involved in trouble of any

2                  kind after arriving in the United States. See id. at 76–81.

3           41.    Mr. Ameen’s wife and three older children are refugees and his youngest child,

4                  J.A., is a United States citizen. See id. at 39–42. His children A.A., Z.A., and

5                  F.A. are all enrolled in local public schools in Sacramento, California and are in

6                  grades 12, 8, and 7, respectively. See id. at 44–47.

7           42.    Mr. Ameen is a committed and caring family man. Mr. Ameen has been married

8                  to his wife Khansaa Sabri for 20 years. See id. at 76.

9           43.    Mr. Ameen worked hard to set down roots for his family in Sacramento. His

10                 neighbors recall the Ameens as a welcoming, peaceful family who regularly

11                 shared their desserts. Id. at 87; see also id. at 85–86, 89–92.

12          44.    One neighbor, motivated by Mr. Ameen’s friendly and helpful nature, offered

13                 him a job at a repair shop. See id. at 85. Mr. Ameen worked there for nearly two

14                 years. See id.

15          45.    Before August 2018, Mr. Ameen was working two jobs and enrolled at

16                 American River College, taking English and vocational classes to better

17                 integrate into the community and support his family. Id. at 49, 73–74, 93.

18   II. Mr. Ameen’s Arrest and Extradition Proceedings

19          46.    On August 15, 2018, the FBI, an agency within the Department of Justice,

20                 arrested Mr. Ameen, executed a search warrant on his residence, transported

21                 him to the FBI field office and interrogated him. See Waldron Decl. ¶ 4. He has

22                 been in federal custody since that day despite the fact that the U.S. government

23                 has never charged him with a crime. See id. ¶¶ 4, 6–7.

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1           47.    His 2018 arrest stemmed from an investigation initiated by the FBI together

2                  with other agencies that make up the Joint Terrorism Task Force (“JTTF”). See

3                  Exh. C at 1294–96.

4           48.    Since it first invaded Iraq, the U.S. government weaponized personal and tribal

5                  feuds to find targets in its war on terror. The Government exploited human

6                  intelligence to single out individuals and groups for torture and imprisonment,

7                  and to justify its actions in the public eye. See Exh. B at 972–73, 1064–1102;

8                  see also id. at 470–72.

9           49.    As a result of the war on terror, countless individuals have been imprisoned,

10                 tortured, and killed. See id. at 470–72, 1082, 1091, 1099–1102.

11          50.    A witness who spoke to the FBI during its investigation of Mr. Ameen accused

12                 him of murdering a man named Ihsan Jasim, a member of the Rawah police

13                 who had previously undertaken anti-terrorism efforts on behalf of the Iraqi

14                 national security forces. See Matter of Extradition of Ameen, 2:18-MJ-152-EFB,

15                 2021 WL 1564520, at *7 (E.D. Cal. Apr. 21, 2021).

16          51.    Mr. Ameen was not present in Iraq when the murder took place. See Exh. B at

17                 911–24; see also Exh. B at 999–1011; Exh. A at 120. By then, he had already

18                 been living as a refugee in Turkey for two years and was compliant with

19                 stringent weekly reporting requirements that all refugees in Turkey must follow

20                 per Turkish government rules. See Exh. B at 999–1011; see also Exh. A at 150–

21                 51.

22          52.    After the United States Attorney’s office, an agency within DOJ, spent more

23                 than two and a half years pursuing extradition proceedings, U.S. Magistrate

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1                  Judge Edmund F. Brennan of the Eastern District of California declined to

2                  certify the extradition request on April 21, 2021. See Matter of Extradition of

3                  Ameen, 2021 WL 1564520. Throughout the case, the government fought to

4                  withhold evidence from Mr. Ameen that proved his innocence. See Waldron

5                  Decl. ¶ 5.

6           53.    In his decision, Judge Brennan excoriated the government’s case against Mr.

7                  Ameen. First, he found “dubious” the government’s argument that Mr. Ameen

8                  had traveled to Rawah to commit the murder despite refugee logbooks and cell

9                  phone records placing him in Turkey. Matter of Extradition of Ameen, 2021 WL

10                 1564520, at *11.

11          54.    The Court also noted that Mr. Ameen had taken and passed a polygraph test. Id.

12          55.    Importantly, the Court found several of the government’s key witnesses to be

13                 inconsistent and unreliable. Id. at *15-16.

14          56.    With respect to the only witness who claimed to have seen Mr. Ameen kill Mr.

15                 Jasim, the Court found his account of the murder implausible, and found it

16                 further undercut by the fact that the witness had made several other allegations

17                 “that are absurd on their face.” Id. at *15–16.

18          57.    The Court similarly rejected the allegations of the other informants. Id. at *12–

19                 15.

20          58.    The Court not only concluded that the government failed to show probable

21                 cause to believe that Mr. Ameen had committed the murder, but also rejected

22                 the government’s terrorism accusations entirely, finding that “there is no

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1                  corroborative evidence in the record that Ameen occupied such a high-level

2                  leadership role in ISIS.” Id. at *16.

3           59.    The Court ordered Mr. Ameen released from custody immediately unless the

4                  government detained him on terrorism-related criminal charges, noting that it

5                  was “regrettable that the case [had] taken more than two years to litigate.” Id.

6    III. Mr. Ameen’s Removal Proceedings

7           60.    The government did not release Mr. Ameen, nor did it bring criminal charges

8                  against him. Instead, on April 21, 2021, it transferred him into ICE custody and

9                  proceeded on the removal proceedings initiated by the Notice to Appear issued

10                 in 2018. See Exh. C at 1294–96.

11          61.    The government charged Mr. Ameen as removable under

12                 8 U.S.C. § 1227(a)(1)(A), which states that “[a]ny [non-citizen] who at the time

13                 of entry . . . was within one or more of the classes of aliens inadmissible by the

14                 law existing at such time is deportable.” See Exh. C at 1291.

15          62.    The government alleged that Mr. Ameen was inadmissible at the time of his

16                 entry because he had made various material misrepresentations on his refugee

17                 application. Id.

18          63.    To support this charge, the government submitted an FBI Letterhead

19                 Memorandum (“LHM”) which contains internally inconsistent and often vague

20                 statements detailing the terrorism allegations against Mr. Ameen. Waldron

21                 Decl. ¶ 10. The government subsequently submitted several supplemental

22                 LHMs in an attempt to bolster its case. Id. ¶ 13.

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1           64.    Through the LHMs, the government made fantastical claims about Mr. Ameen’s

2                  involvement in terrorist activities.

3           65.    For example, the government alleged that Mr. Ameen was the founder of

4                  Jama’at al-Tawhid wal-Jihad, the precursor organization to Al-Qaida in Iraq,

5                  despite the government’s repeated representations over many years that the

6                  organization was actually founded by Abu Musab al-Zarqawi. See id. ¶ 10; Exh.

7                  B at 1156–1231.

8           66.    The government also accused Mr. Ameen of: working for Ghassan in 2007 even

9                  though the government’s scant evidence alleges that Ghassan was in custody

10                 following his arrest on terrorism charges in 2005; kidnapping several

11                 individuals in 2016 when it was undisputed that Mr. Ameen was already in the

12                 United States; and being an ISIS commander in Rawah in 2014 despite living as

13                 a refugee in Turkey at that time. See Waldron Decl. ¶ 11.

14          67.    The government also argued that Mr. Ameen was not eligible for bond because

15                 he was properly held under 8 U.S.C. § 1226(c)(1)(D), which requires the

16                 government to detain certain non-citizens in removal proceedings, including

17                 non-citizens who have committed terrorism-related offenses.

18          68.    At Mr. Ameen’s first hearing on May 13, 2021, counsel for Mr. Ameen raised

19                 the question of a bond hearing. The Immigration Judge asked DHS for its

20                 position on bond. Counsel for DHS indicated that it was the government’s

21                 position that Mr. Ameen was subject to mandatory detention pursuant to 8

22                 U.S.C. § 1226(c)(1)(D) because the government believed Mr. Ameen was

23                 deportable under 8 U.S.C. § 1227(a)(4)(B), despite its failure to charge him as

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1                  such. See Waldron Decl. ¶ 15. The Immigration Judge indicated that

2                  removability was inextricably linked to bond eligibility and that the same

3                  evidence would be necessary for each proceeding. Id. He therefore opined that

4                  the best course of action was to address removability first. Mr. Ameen’s counsel

5                  agreed. Id.

6           69.    Between July and October 2021, the immigration court conducted six days of

7                  hearings on removability. Id. ¶ 16–22.

8           70.    During these hearings, the government opposed turning over any of the

9                  evidence that served as the source for the LHMs. See id. ¶ 12. It refused to

10                 acknowledge that the same informants were responsible for the allegations in

11                 both the removal and extradition proceedings, despite the obvious similarities of

12                 the statements and allegations. Id. It further refused to identify the author of the

13                 LHM. See id. ¶¶ 10, 12.

14          71.    The government refused to provide the affidavit for the search warrant, which

15                 remained under seal in the extradition case. Subsequently, the district court

16                 granted a motion to unseal the search warrant and affidavit. The search warrant

17                 affidavit highlighted the inconsistencies in the government’s evidence. See Exh.

18                 B at 1237–84.

19          72.    In his removal proceedings, the government failed to produce a single witness

20                 with personal knowledge of the terrorism allegations against Mr. Ameen,

21                 instead relying almost entirely on the testimony of former FBI Special Agent

22                 William Denton. See Exh. B at 856. Mr. Denton’s testimony often relied on

23                 double, triple, and quadruple hearsay.

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1           73.    Even with the government’s stonewalling, Mr. Ameen presented copious

2                  evidence to show that the LHMs and the witnesses referenced therein were not

3                  credible. See generally Exh. B. Mr. Ameen also submitted rebuttal evidence

4                  showing he has no involvement with terrorism. See Exh. B at 805-989.

5           74.    In August, after issuing a preliminary order that was favorable to Mr. Ameen,

6                  excluding several pieces of DHS evidence, the original immigration judge

7                  hearing the case was abruptly removed from the case, and a new immigration

8                  judge, Immigration Judge Tara Naselow-Nahas, was installed. See Waldron

9                  Decl. ¶ 17–20.

10          75.    On November 16, 2021, the immigration judge issued an oral decision on Mr.

11                 Ameen’s removability. See id. ¶ 23.

12          76.    In removal proceedings, the government bears the burden by clear, unequivocal,

13                 and convincing evidence of proving that the non-citizen is removable. See

14                 Woodby v. INS, 385 U.S. 276 (1966).

15          77.    The immigration judge found that the government had failed to prove its

16                 allegations related to Mr. Ameen’s involvement in terrorism by clear and

17                 convincing evidence and declined to sustain them. See Waldron Decl. ¶ 23.

18          78.    However, the immigration judge found that the government had met its burden

19                 with respect to several misstatements on Mr. Ameen’s refugee application,

20                 including statements related to how his father died, his brother Bilal’s

21                 kidnapping, and his lack of interactions with or knowledge of a member or an

22                 armed group or militia. See id.

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1           79.    Because the immigration judge found Mr. Ameen removable, she set new

2                  hearing dates in January and February 2022 at which the court will consider Mr.

3                  Ameen’s claims for relief, including asylum, withholding of removal, deferral

4                  of removal under the Convention Against Torture, and adjustment of status. See

5                  id.

6           80.    Mr. Ameen is eligible for these forms of relief because the court did not sustain

7                  the government’s allegations related to Mr. Ameen’s involvement in terrorism.

8           81.    Regardless of the outcome of Mr. Ameen’s claims for relief, there will likely be

9                  months or years of appeals after the removal proceedings have concluded.

10   IV. Mr. Ameen’s Bond Proceedings

11          82.    Mr. Ameen filed a motion for custody redetermination on December 2, 2021.

12                 Waldron Decl. at ¶ 24.

13          83.    In support of his application for bond, Mr. Ameen’s counsel filed a brief in

14                 which they argued that because the immigration judge had not sustained the

15                 terrorism-related charges, that Mr. Ameen was held pursuant to

16                 8 U.S.C. § 1226(a) and thus was eligible for bond. The brief also argued that the

17                 burden should be on the government to show, by clear and convincing evidence,

18                 that Mr. Ameen was a danger to the community or a flight risk.

19          84.    Mr. Ameen submitted extensive evidence at the bond hearing supporting his

20                 argument that he was neither a danger to the community nor a flight risk. See

21                 Waldron Decl. ¶ 25; see also Exh. A.

22          85.    Mr. Ameen submitted numerous declarations from family and friends from Iraq

23                 attesting that Mr. Ameen was not involved in terrorism, including declarations

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1                  from five of his brothers disavowing that Mr. Ameen had ever been a member

2                  of ISIS or Al-Qaida. See Exh. B at 815–52.

3           86.    In addition, his wife and children wrote letters of support asking for Mr.

4                  Ameen’s release. See Exh. A at 76–84.

5           87.    Mr. Ameen demonstrated significant community support, including from the

6                  Mayor of Sacramento, various Sacramento City Councilmembers, and other

7                  members of the Sacramento community. See id. at 58–75. On May 3, 2021,

8                  Mayor Darrell Steinberg, Vice Mayor Jay Schenirer, and four City

9                  Councilmembers of the City of Sacramento wrote to DHS Secretary Alejandro

10                 Mayorkas to express their grave concern over ICE’s detention and prosecution

11                 of Mr. Ameen. Id. at 64–66.

12          88.    Recognizing that the Court found Mr. Ameen removable from the United States

13                 based on material misrepresentations in his refugee application, Sacramento

14                 Mayor Steinberg and City Councilmembers Valenzuela, Loloee, Guerra, and

15                 Vang provided updated letters to nevertheless express their continued support of

16                 Mr. Ameen and to request his release from custody. See id. at 58–63.

17          89.    Additionally, State of California Congresspeople Dr. Richard Pan and Kevin

18                 McCarty wrote letters expressing their concern over his continued detention. Id.

19                 at 67–68. Alianza Sacramento, Sacramento Immigration Coalition, Coalition for

20                 Immigrant Detention Reform, and Step Up! Sacramento also supported the

21                 release of Mr. Ameen back to their community, noting he is a beloved

22                 community member and father. Id. at 69–75.

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1           90.    Other letters of support from community members described Mr. Ameen as

2                  kind, dedicated to his family, and a person of great moral character. Id. at 73,

3                  85–114.

4           91.    In response, the government filed an opposition in which it argued that Mr.

5                  Ameen was not eligible for bond under 8 U.S.C. § 1226(c)(1)(D) and submitted

6                  the LHMs as well as other evidence from the contested removal proceedings as

7                  support. See Exh. D at 1305–06. It further argued that even if Mr. Ameen were

8                  eligible for bond, his request should be denied because he was a danger to the

9                  community and a flight risk.

10          92.    At the bond hearing on December 10, 2021, the immigration judge first

11                 concluded that Mr. Ameen was eligible for bond under 8 U.S.C. § 1226(a).

12                 Waldron Decl. ¶ 27.

13          93.    However, she concluded that Mr. Ameen, not the government, had the burden

14                 of proof, reasoning that the bond hearing was an initial bond hearing at which

15                 the non-citizen bears the burden of proof under 8 U.S.C. § 1226(a). She also

16                 dismissed Mr. Ameen’s argument that the burden had shifted because his

17                 detention had become prolonged, stating simply “this is not a prolonged

18                 detention case” because Mr. Ameen had not previously requested a bond

19                 hearing. Id.

20          94.    The immigration judge further found that Mr. Ameen had not met his burden of

21                 showing by clear and convincing evidence that he was not a danger to the

22                 community and a flight risk. On dangerousness, she relied on allegation five in

23                 the Notice to Appear. See Exh. C at 1291.

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1           95.    On flight risk, she concluded that because he had outstanding warrants in Iraq,

2                  he had reason to abscond from law enforcement. Waldron Decl. ¶ 27.

3           96.    Mr. Ameen filed an appeal with the BIA that day. Waldron Decl. ¶ 28. On

4                  December 23, 2021, the BIA issued a briefing schedule ordering the parties to

5                  file briefs on or before January 13, 2022. Id. ¶ 29.

6           97.    As a result of Mr. Ameen’s bond appeal, the immigration judge issued a bond

7                  memorandum on December 17, 2021, detailing her decision denying Mr.

8                  Ameen’s request for bond. Exh. D.

9           98.    The immigration judge concluded that Mr. Ameen bore the burden of proving

10                 by clear and convincing evidence that he was not a danger or a flight risk, citing

11                 Matter of Guerra, 24 I&N Dec. 37, 38 (BIA 2006) and Matter of Adeniji, 22

12                 I&N Dec. 1102 (BIA 1999). Exh. D at 1307.

13          99.    The immigration judge stated that she was persuaded by evidence that Mr.

14                 Ameen interacted with individuals associated with terrorist organizations.

15                 Specifically, she found that it was clear that Mr. Ameen interacted with his

16                 cousin Ghassan, who she concluded is a member of a terrorist organization. Id.

17                 at 1308. In making this finding, the immigration judge afforded significant

18                 weight to evidence from DHS and little weight to evidence from Mr. Ameen.

19          100.   The immigration judge also concluded that Mr. Ameen could not prove that he

20                 was not a flight risk. Id. at 1309. She concluded that the fact that he had lied on

21                 his refugee application “suggests he will be unwilling to comply with this

22                 Court’s order.” Id. She further found that because of the outstanding warrants

23                 for his arrest in Iraq, he was likely to flee and evade removal to Iraq. Id.

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1           101.   Mr. Ameen has now been detained by ICE for over eight months and by the

2                  federal government, through coordinated efforts, for over three years without

3                  ever being charged with a crime.

4                                         LEGAL ARGUMENT

5    I. The Immigration and Nationality Act Places the Burden of Proof on the Government in
     Bond Hearings Under 8 U.S.C. § 1226(a)
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            102.   Congress has authorized the government to detain noncitizens during their
7
                   removal proceedings. See generally Jennings, 138 S. Ct. 830 (discussing
8
                   authority to detain under 8 U.S.C. §§ 1225(b), 1226(a), 1226(c)). The general
9
                   “discretionary” detention statute, § 1226(a), enables noncitizens like Mr. Ameen
10
                   to seek release on bond from an immigration judge.
11
            103.   Although 8 U.S.C. § 1226(a) is silent as to which party carries the burden of
12
                   proof in bond proceedings, the statutory context and legislative history of that
13
                   provision demonstrate that the government properly bears the burden of
14
                   justifying a noncitizen’s continued detention.
15
            104.   Had Congress wanted noncitizens to bear the burden of proof pursuant to
16
                   § 1226(a) it would have expressly said so, as it did in another subsection of
17
                   § 1226. See § 1226(c)(2) (“The Attorney General may release an alien” if
18
                   release is “necessary to provide protection to a witness” and “the alien satisfies
19
                   the Attorney General that the alien will not pose a danger to the safety of other
20
                   person or of property and is likely to appear for any scheduled proceedings”).
21
            105.   “Where Congress includes particular language in one section of a statute but
22
                   omits it in another section of the same Act, it is generally presumed that
23
                   Congress acts intentionally and purposely in the disparate inclusion or
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1                  exclusion.” Nken v. Holder, 556 U.S. 418, 430 (2009) (quoting INS v. Cardoza-

2                  Fonseca, 480 U.S. 421, 432 (1987)).

3           106.   This is “particularly true” in instances, like here, when Congress enacts a statute

4                  “as part of a unified overhaul” of the prior law. Id. at 430–31. Congress enacted

5                  all of § 1226 at the same time, in 1996. See Demore, 538 U.S. at 521 (describing

6                  “wholesale reform” of immigration laws including enactment of § 1226).

7                  Nonetheless, § 1226(a) is silent as to the burden of proof, while § 1226(c)(2)

8                  squarely places the burden on noncitizens to establish that release is proper.

9                  Congress’s failure to expressly require noncitizens to carry the burden in bond

10                 hearings under § 1226(a) when it overhauled the INA indicates that placing the

11                 burden on non-criminal detainees contravenes Congressional intent.

12          107.   Moreover, maxims of statutory construction dictate that “Congress is presumed

13                 to be aware of an administrative or judicial interpretation of a statute and to

14                 adopt that interpretation when it re-enacts a statute without change.” Lorillard v.

15                 Pons, 434 U.S. 575, 580 (1978). That canon applies here: at the time that

16                 Congress enacted 8 U.S.C. § 1226(a), the BIA had expressed a strong

17                 presumption against detention under § 1226(a)’s predecessor statute, 8 U.S.C. §

18                 1252(a)(1) (1994). Matter of Patel, 15 I&N Dec. 666, 666 (BIA 1976) (noting

19                 an immigrant “generally is not and should not be detained or required to post

20                 bond except on a finding that he is a threat to the national security or [] a poor

21                 bail risk”).

22          108.   When Congress preserved the language of former § 1252(a)(1) (1994) in re-

23                 enacting it as § 1226(a), it presumably adopted the Board’s “administrative []

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1                  interpretation” of the statute and thereby Patel’s presumption against detention

2                  during removal proceedings. Lorillard, 434 U.S. at 580.

3
     II. The Due Process Clause Requires the Government to Bear the Burden of Proof By
4    Clear and Convincing Evidence in Bond Hearings Under 8 U.S.C. § 1226(a)

5           109.   Mr. Ameen has been detained by ICE for more than eight months, rendering his

6                  detention prolonged and raising serious constitutional concerns. See Zadvydas,

7                  533 U.S. at 701; Demore, 538 U.S. at 529–531.

8           110.   It is a long-standing constitutional principle of due process that if the

9                  government seeks to subject an individual to prolonged detention, the

10                 government bears the burden of proving by clear and convincing evidence that

11                 the individual meets the criteria for detention. See, e.g., Foucha v. Louisiana,

12                 504 U.S. 71, 72 (1992) (“[T]he State may confine a person if it shows by clear

13                 and convincing evidence that he is mentally ill and dangerous.”) (citing Jones v.

14                 United States, 463 U.S. 354, 362 (1983)); Kansas v. Hendricks, 521 U.S. 346,

15                 353 (1997) (placing the burden on the state in sexual predator civil detention

16                 scheme); United States v. Salerno, 481 U.S. 739, 750 (1987) (holding that

17                 government bears the burden in the pretrial detention context).

18          111.   The Ninth Circuit has held that in prolonged detention hearings under 8 U.S.C.

19                 § 1226(a), the government bears the burden by clear and convincing evidence of

20                 proving that the non-citizen is a danger to the community and a flight risk.

21                 Singh v. Holder, 638 F.3d at 1203; see also Velasco Lopez v. Decker, 978 F.3d

22                 842, 853–56 (2d Cir. 2020).

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1           112.   Even if Mr. Ameen’s detention is not considered prolonged, the Due Process

2                  Clause requires that the burden be placed on the government by clear and

3                  convincing evidence, despite the immigration judge’s decision and BIA

4                  precedent to the contrary.

5           A.     Mr. Ameen’s detention is prolonged and Singh’s holding on burden of
                   proof in prolonged detention cases is controlling precedent in Mr. Ameen’s
6                  removal proceedings.

7           113.   Singh v. Holder clearly held, in the context of Casas-Castrillon hearings, that

8                  once immigration detention becomes prolonged, a clear and convincing

9                  evidence standard of proof applies to the government. Singh, 638 F.3d at 1203.

10          114.   In Casas-Castrillon v. DHS, 535 F.3d 942 (9th Cir. 2008), the Ninth Circuit

11                 held that non-citizens originally detained under 8 U.S.C. § 1226(c) are no longer

12                 subject to mandatory detention once the proceedings before the administrative

13                 agency have concluded and the case is before the circuit court of appeals. Id. at

14                 948. At that point, their detention becomes authorized under 8 U.S.C. § 1226(a).

15                 The Ninth Circuit further concluded that a bond hearing under

16                 8 U.S.C. § 1226(a) was required, particularly in light of the prolonged nature of

17                 the detention. Id. at 950, 951.

18          115.   After Casas-Castrillon, the Ninth Circuit decided Singh v. Holder, in which it

19                 held that the government bears the burden of demonstrating, by clear and

20                 convincing evidence, that an “alien is a flight risk or a danger to the

21                 community” to justify a denial of bond at a Casas hearing. Singh, 638 F.3d at

22                 1203, 1205.

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1           116.   In Singh v. Holder, the Ninth Circuit based its decision to impose a clear and

2                  convincing evidence standard on the government on the fact that detention had

3                  become prolonged. See Cruz-Zavala v. Barr, 445 F. Supp. 3d 571, 576 (N.D.

4                  Cal. 2020) (holding that Singh applied even when non-citizen did not request

5                  bond at the beginning of his removal proceedings); see Singh v. Holder, 638

6                  F.3d 1196, 1205 (9th Cir. 2011).

7           117.   Unlike Casas-Castrillon, “Singh was not a statutory construction decision.

8                  Instead, [the Ninth Circuit] drew from the Supreme Court’s constitutional

9                  procedural due process jurisprudence ‘plac[ing] a heightened burden of proof on

10                 the State in civil proceedings in which the ‘individual liberty interests at

11                 stake . . . are both particularly important and more substantial than mere loss of

12                 money.’” Aleman Gonzalez v. Barr, 955 F.3d 762, 775 (9th Cir. 2020), cert.

13                 granted on other grounds, Garland v. Gonzalez, 210 L. Ed. 2d 1009 (Aug. 23,

14                 2021).

15          118.   In Jennings, the Supreme Court rejected the Ninth Circuit’s interpretation of 8

16                 U.S.C. § 1226(a). Aleman Gonzalez v. Barr, 955 F.3d at 775. However, it

17                 remanded for consideration of the constitutional issues presented in the case.

18                 Jennings, 138 S.Ct. at 852.

19          119.   Because Singh was a constitutional decision and Jennings did not consider any

20                 constitutional claims, Singh has not been abrogated and is still controlling

21                 precedent. See Ixchop Perez v. McAleenan, 435 F. Supp. 3d 1055, 1060-61

22                 (N.D. Cal. 2020) (finding that Jennings did not abrogate Singh); Cortez v.

23                 Sessions, 318 F. Supp. 3d 1134, 1147 (N.D. Cal. 2018) (same); Gonzalez v.

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1                  Bonnar, 18-CV-05321-JSC, 2019 WL 330906, at *6 (N.D. Cal. Jan. 25, 2019)

2                  (same).

3           120.   Contrary to Singh, the immigration judge in this case did not put the burden on

4                  the government to prove that Mr. Ameen was a danger to the community or a

5                  flight risk by clear and convincing evidence.

6           121.   Instead, she concluded that although “the courts have found certain classes of

7                  noncitizens who have been subject to prolonged or indefinite detention to be

8                  eligible for bond redetermination where the burden is placed on DHS,” this case

9                  law did not apply to Mr. Ameen because “his eligibility for a bond falls squarely

10                 under [8 U.S.C. § 1226(a)], not the aforementioned case law.” Exh. D at 1307,

11                 n. 2. This conclusion is wrong for at least two reasons.

12          122.   First, the immigration judge ignored Singh, which requires that the burden of

13                 proof shift to the government to demonstrate flight risk and dangerousness by

14                 clear and convincing evidence in prolonged detention cases for non-citizens

15                 held under 8 U.S.C. § 1226(a). As explained above, that decision survived the

16                 Supreme Court’s decision in Jennings. 138 S.Ct. at 852. The holding of Singh

17                 has also been affirmed in other circuits. See, e.g., Velasco Lopez, 978 F.3d at

18                 846 (holding that the government bears burden of proof in prolonged detention

19                 cases under 8 U.S.C. § 1226(a)).

20          123.   Second, the immigration judge misunderstood the case law on prolonged

21                 detention in other contexts. The constitutionality of prolonged detention does

22                 not depend on the statute that authorizes the detention, but on the fact that it is

23                 prolonged. The Supreme Court has repeatedly held that the government must

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1                  bear the burden by clear and convincing evidence when it seeks to subject an

2                  individual to prolonged civil detention, and it has done so under a variety of

3                  statutory schemes. See, e.g., Foucha, 504 U.S. at 86 (“[I]n civil commitment

4                  proceedings the State must establish the grounds of insanity and dangerousness

5                  permitting confinement by clear and convincing evidence.”) (citing Addington

6                  v. Texas, 441 U.S. 418, 425–33 (1979)); Hendricks, 521 U.S. at 353 (burden on

7                  the state in sexual predator prolonged detention scheme).

8           124.   There is nothing unique about detention under 8 U.S.C. § 1226(a) that would

9                  affect the constitutionality of the procedural safeguards due to Mr. Ameen.

10                 Detention under 8 U.S.C. § 1226(a) is functionally identical to immigration

11                 detention pursuant to other statutes. Non-citizens are held in the same facilities

12                 and subject to the same conditions. The liberty interests are identical and the

13                 government’s interests are no greater. If anything, the government’s interests

14                 are lesser because non-citizens, like Mr. Ameen, held under 8 U.S.C. § 1226(a)

15                 do not have serious criminal convictions.

16          125.   Thus, the immigration judge’s conclusion that Mr. Ameen could either be

17                 subject to 8 U.S.C. § 1226(a) or prolonged detention―but not both at the same

18                 time―is simply incorrect.

19          126.   Mr. Ameen is entitled to a hearing at which the burden is on the government by

20                 clear and convincing evidence because his detention is prolonged, regardless of

21                 which statute authorizes his detention.

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1           B.       The Due Process Clause requires the government to bear the burden by
                     clear and convincing evidence even if Mr. Ameen’s detention is not
2                    considered prolonged.

3           127.     Even if Mr. Ameen’s detention is not considered prolonged, the Due Process

4                    Clause still requires that the burden of proof be placed on the government by

5                    clear and convincing evidence.

6           128.     Immigration detention is inconsistent with due process unless “a special

7                    justification . . . outweighs the ‘individual’s constitutionally protected interest

8                    in avoiding physical restraint.’” Zadvydas, 533 U.S. at 690 (quoting Hendricks,

9                    521 U.S. at 356)).

10          129.     The government’s interest in protecting the community and avoiding flight risk

11                   is no greater at an initial hearing under 8 U.S.C. § 1226(a) than it is once the

12                   non-citizen has been detained for a prolonged period of time.

13          130.     Courts use the three-part balancing test articulated in Mathews v. Eldridge to

14                   determine when additional procedural protections are required under the Due

15                   Process Clause. 424 U.S. 319, 335 (1976) (noting that courts must balance (1)

16                   “the private interest that will be affected by the official action;” (2) “the risk of

17                   an erroneous deprivation of such interest through the procedures used, and the

18                   probable value, if any, of additional or substitute procedural safeguards;” and

19                   (3) “the Government’s interest, including the function involved and the fiscal

20                   and administrative burdens that the additional or substitute procedural

21                   requirement would entail”).

22          131.     The Mathews factors weigh in favor of placing a high burden on the government

23                   to detain a non-citizen during the pendency of removal proceedings. This is no

24                   less the case at an initial bond hearing than in the prolonged detention context.


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1           132.   Detention subjects a non-citizen to a substantial deprivation of liberty.

2                  Zadvydas, 533 U.S. at 690 (citing Foucha, 504 U.S. at 80).

3           133.   The risk of erroneous deprivation is high. The result in this very case illustrates

4                  the danger of placing the burden of proof on the non-citizen to prove a

5                  negative—that he is not a flight risk or danger to the community. See

6                  Hernandez-Lara v. Lyons, 10 F.4th 19, 31 (1st Cir. 2021) (“[P]roving a negative

7                  (especially a lack of danger) can often be more difficult than proving a cause for

8                  concern.”) (citing Elkins v. United States, 364 U.S. 206, 218 (1960)).

9           134.   The burden on the government to bring forth evidence proving flight risk and

10                 danger to the community, on the other hand, is slight. The government will

11                 submit all the evidence it has even if the burden is placed on the non-citizen.

12                 For example, in Mr. Ameen’s case, there is no indication that the government

13                 held back evidence it otherwise would have submitted because it did not have

14                 the burden. Doing so would have been nonsensical given its failure to prove its

15                 terrorism allegations against Mr. Ameen and the desperate measures it has taken

16                 to keep Mr. Ameen in detention.

17          135.   Thus, the Due Process Clause requires that the government prove by clear and

18                 convincing evidence that the non-citizen is a flight risk or a danger to the

19                 community even at the initial bond hearing. See Al-Sadeai v. U.S. Immigr. &

20                 Customs Enf’t, 21-CV-00296-GPC-MDD,2021 WL 1978474, at *5 (S.D. Cal.

21                 May 18, 2021) (finding that the burden of proof is on the government “at the

22                 time of their initial bond hearing”), appeal filed at Al-Sadeai v. U.S. Immigr. &

23                 Customs Enf’t, Case No. 21-55747 (9th Cir. July 16, 2022); Ixchop Perez, 435

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1                  F. Supp. 3d at 1061–62 (applying the Singh burden of proof allocation to

2                  Section 1226(a) initial bond hearing); Cruz-Zavala, 445 F. Supp. 3d at 576

3                  (same); Marroquin Ambriz v. Barr, 420 F. Supp. 3d at 964 (same); Hernandez-

4                  Lara v. Lyons, 10 F.4th at 41 (holding that the government bears the burden of

5                  proving either dangerousness by clear and convincing evidence or flight risk by

6                  a preponderance of the evidence); Darko v. Sessions, 342 F. Supp. 3d 429, 436

7                  (S.D.N.Y. 2018) (holding that “due process requires the government to bear the

8                  burden of proving that detention is justified at a bond hearing under § 1226(a)”

9                  and that “in accordance with the overwhelming majority of courts to have

10                 decided the issue… the government must bear the burden by clear and

11                 convincing evidence”); Rajesh v. Barr, 420 F.Supp.3d 78, 87 (W.D.N.Y. 2019)

12                 (holding that “the Fifth Amendment’s Due Process Clause requires the

13                 Government to bear the burden of proving, by clear and convincing evidence,

14                 that detention is justified at a bond hearing under § 1226(a)” and noting that the

15                 court joins “the vast majority of the district courts” in doing so).

16   III. The Immigration Judge Erred in Unevenly Applying Evidentiary Rules Resulting in
     a Fundamentally Unfair Hearing
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            136.    Mr. Ameen received a fundamentally unfair hearing because the immigration
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                    judge afforded greater evidentiary weight to DHS’s evidence, which suffered
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                    from substantial evidentiary flaws, than to Mr. Ameen’s evidence. In her
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                    evidentiary findings, the immigration judge awarded the government
21
                    preferential treatment.
22
            137.    For example, the immigration judge afforded “little weight” to the sworn
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                   declarations from Mr. Ameen’s brothers because they “have also been accused
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1                  of having connections to terrorist activities.” See Exh. D at 1308; see also Exh.

2                  B at 815-38.

3           138.   However, the only such allegations against Mr. Ameen’s brothers are found in

4                  the May 26, 2020 LHM, a document that is based on multiple layers of hearsay,

5                  including statements from unnamed witnesses. See Waldron Decl. ¶ 10. Mr.

6                  Ameen’s federal defender in his extradition case, who extensively reviewed the

7                  government’s evidence in both the extradition case and the immigration case,

8                  noted that the FBI used different aliases for the same unnamed witnesses in its

9                  August 14, 2018 search warrant affidavit versus its May 26, 2020 LHM. See

10                 Exh. B at 853–65. She further observed that, alarmingly, “much of the of the

11                 exculpatory evidence favorable to Mr. Ameen and impeaching information

12                 adverse to the witnesses from the search warrant affidavit has been omitted

13                 from DHS’s filings to the [Immigration] Court, as well as from the . . . LHM.”

14                 Id. at 855. She noted her surprise that “neither of these documents provided

15                 anything close to a full discussion of the facts of Mr. Ameen’s case and the

16                 investigation underlying it.” Id.

17          139.   The immigration judge also faulted Mr. Ameen for foundational deficits with

18                 respect to the declarations from Mr. Ameen’s family members and individuals

19                 in Iraq while simultaneously failing to acknowledge the government’s failure to

20                 authenticate or lay a foundation for information obtained through unnamed

21                 witnesses in the LHM. See Exh. D at 1305–09. In so doing, the immigration

22                 judge played favorites, giving the government a pass for its evidentiary

23                 shortcomings but punishing Mr. Ameen for his.

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1           140.   For example, in support of her decision to give little weight to the declarations,

2                  the immigration judge stated that the court did not have the opportunity to

3                  question the declarants. Id. at 1308. Yet the immigration judge failed to note

4                  that the court also had no opportunity to question any of the nine unnamed

5                  individuals who made allegations against Mr. Ameen and his family as relayed

6                  in the May 2020 LHM. See Exh. D.

7           141.   In another foundational critique, the immigration judge faulted Mr. Ameen for

8                  not detailing his connection to those individuals who provided declarations on

9                  his behalf or describing how he obtained the declarations from his brothers and

10                 Hamid Khaleel and Haqi Rajab Yas. Exh. D at 1308. However, the declarations

11                 all make clear the declarants’ connections to Mr. Ameen and include photo

12                 identification, further authenticating the documents. Exh. B at 815-38. By

13                 contrast, the government’s evidence had significant chain of custody issues that

14                 the immigration judge chose to overlook.

15          142.   Immigration judges must fully consider the complete record before reaching a

16                 bond determination. Ramos v. Sessions, 8-CV-00413-JST, 2018 WL 905922, at

17                 *4 (N.D. Cal. Feb. 15, 2018) (finding that the government did not establish

18                 dangerousness or flight risk by clear and convincing evidence where the

19                 immigration judge glossed over evidence of the petitioner’s rehabilitation and

20                 thus had not adequately considered the whole record); see also Sales v. Johnson,

21                 323 F. Supp. 3d 1131, 1142 (N.D. Cal. 2017) (“[B]ased on th[e] record, the

22                 government’s evidence did not establish clearly and convincingly that Petitioner

23                 was a poor bail risk.”).

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1           143.   The immigration judge failed to consider the whole record by applying more

2                  stringent evidentiary requirements on Mr. Ameen and, as a result, failing to

3                  afford his evidence appropriate weight while crediting the government’s

4                  evidence that suffered from significant evidentiary issues.

5           144.   Likewise, the immigration judge failed to fully consider the extensive new

6                  evidentiary submission in support of Mr. Ameen’s bond request. See Exh. D;

7                  Exh. B. The bond memo cursorily mentions the submission in the discussion on

8                  flight risk without discussing the documents specifically or the content thereof,

9                  and wholly fails to discuss them in the dangerousness section. See Exh. D at

10                 1309.

11          145.   The immigration judge’s failure to afford Mr. Ameen’s evidence appropriate

12                 weight, as well as her consideration of evidence favorable to the government’s

13                 claims rife with even greater flaws, rendered the bond hearing fundamentally

14                 unfair under the Due Process Clause.

15   IV. Mr. Ameen is Not a Danger to the Community or a Flight Risk Under Any Burden of
     Proof
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            146.   The government has failed to prove that Mr. Ameen is a danger to the
17
                   community or a flight risk.
18
            147.   Because no reasonable decision-maker could conclude that Mr. Ameen is a
19
                   danger to the community or a flight risk, the Court should order his immediate
20
                   release.
21
            A.     Mr. Ameen is not a danger to the community.
22
            148.   The immigration judge already concluded that the government failed to meet its
23
                   burden of proof on all of the terrorism allegations in the removability context.
24

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1                  The government submitted the same evidence in its opposition to custody

2                  redetermination.

3           149.   The sole charges of removability that the immigration judge sustained concern

4                  alleged misrepresentations made on Mr. Ameen’s refugee application.

5           150.   Even if the charge is ultimately sustained on appeal, the immigration judge

6                  failed to articulate how making misrepresentations on a refugee application

7                  would render Mr. Ameen so dangerous as to require his continued detention

8                  during the pendency of his removal proceedings.

9           151.   Although the burden is on the government to prove that Mr. Ameen is

10                 dangerous, he should prevail even if the burden is placed on him.

11          152.   Mr. Ameen has no criminal convictions and has never been charged with a

12                 crime in the United States. The warrant for his arrest at issue in the extradition

13                 proceedings was found not to be supported by the relatively low standard of

14                 probable cause.

15          153.   Mr. Ameen has submitted copious evidence to show that he is not involved in

16                 terrorism in Iraq and that he is a cherished member of his family and

17                 community in Sacramento. He also has spent over three years exposing the

18                 government’s evidence for what it is: false information given to the government

19                 by unscrupulous and not credible informants.

20          154.   Mr. Ameen lived in the United States for nearly four years before his arrest. The

21                 government executed a search warrant on his residence and the contents and

22                 search history on his computer. The government found no compelling evidence

23                 of any terrorist activity on the part of Mr. Ameen.

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1           155.     Moreover, the government cannot explain why Mr. Ameen, who has never

2                    engaged in terrorist activities in the past, would choose to begin engaging in

3                    terrorist activities now when he knows that the government is surveilling him—

4                    after not making any such efforts in the years prior to his incarceration when he

5                    had no knowledge of his surveillance.

6           156.     The government has presented no evidence whatsoever that he has ever posed a

7                    threat to the United States prior to or after his admission.

8           157.     No reasonable decision-maker could conclude that Mr. Ameen is a danger to the

9                    community considering the correct burden of proof and the immigration judge’s

10                   decision on removability.

11          B.       Mr. Ameen is not a flight risk.

12          158.     The immigration judge failed to appropriately weigh the evidence of record

13                   when considering whether Mr. Ameen is a flight risk. Mr. Ameen has lived in

14                   the United States for over seven years, since November 4, 2014. See Exh. A at

15                   41–43. Before he was arrested on August 15, 2018, Mr. Ameen worked to

16                   support his family, filed tax returns, and attended community college classes to

17                   learn English and professional skills. See Exh. A at 20–36, 49.

18          159.     Upon release from custody he would return to his family’s home in Sacramento.

19                   Mr. Ameen will live with his wife and four children, ages 17 to 4 years old. Mr.

20                   Ameen’s wife and three older children are refugees, and his youngest child,

21                   J.A., is a United States citizen. See id. at 39–43.

22          160.     In addition to his stable, supportive family and residence, he has significant

23                   community support.

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1           161.   All who have met and know Mr. Ameen speak of his kind, respectful, and

2                  gentle nature. See id. at 85–114.

3           162.   Mr. Ameen has no history of absconding or failing to appear at court dates.

4                  Additionally, evidence shows that while Mr. Ameen resided in Turkey, he

5                  complied with stringent refugee reporting requirements mandated by the

6                  Turkish government. See Exh. B at 931–53.

7           163.   In the bond memorandum, the immigration judge relied heavily on the

8                  outstanding warrants for Mr. Ameen’s arrest in Iraq to conclude that Mr. Ameen

9                  had incentive to flee in order to avoid removal to Iraq. See Exh. D at 1309.

10                 However, once again, the immigration judge affords the government’s evidence,

11                 which suffers from serious evidentiary flaws like authentication and foundation,

12                 significant weight while failing to consider evidence and arguments put forth by

13                 Mr. Ameen. Mr. Ameen’s evidence highlights corruption within the government

14                 of Iraq, including within the judiciary, and his arguments demonstrate the U.S.

15                 government failed to prove Iraqi law as a fact as required by law. Matter of

16                 Soleimani, 20 I&N Dec. 99, 106 (BIA 1989) (“Foreign law is a matter to be

17                 proven by the party seeking to rely on it.”); Matter of Kodwo, 24 I&N Dec. 479,

18                 482 (BIA 2008); Matter of A-G-G-, 25 I&N Dec. 486, 505, n. 19 (BIA 2011).

19                 The warrants also contain no description of the alleged violation of law by Mr.

20                 Ameen. The “description” section on each warrant is either blank or “as

21                 described by the informer,” further undermining any potential evidentiary value

22                 that the warrants might have. Because the government has not proven the

23                 validity of the warrants and there is reason to doubt their veracity, there is no

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1                  support for the contention that Mr. Ameen would be incentivized to flee to

2                  avoid removal.

3           164.   Also in the bond memorandum, the immigration judge concluded that

4                  “[r]espondent’s demonstrated willingness to provide false information to the

5                  government suggests he will be unwilling to comply with this Court’s orders.”

6                  Exh. D at 1309. However, the record as discussed supra does not support that

7                  finding.

8           165.   Mr. Ameen does not want to be returned to Iraq and needs to press his claims

9                  for relief from removal in order to avoid that fate. Absconding would be

10                 completely counterproductive to Mr. Ameen’s ultimate goal of remaining safely

11                 in the United States with his family.

12          166.   Furthermore, even if the government could show by clear and convincing

13                 evidence that Mr. Ameen poses some risk of flight, his detention would remain

14                 impermissible if a condition or combination of conditions could mitigate that

15                 risk.

16          167.   The immigration judge noted that she was required to consider alternatives to

17                 detention, but then failed to do so. In particular, she failed to explain why Mr.

18                 Ameen’s alleged unwillingness to comply with court orders could not be

19                 mitigated by electronic monitoring or other conditions of release.

20          168.   The government has not met its burden of showing that Mr. Ameen is a flight

21                 risk by clear and convincing evidence. Even if the burden is on Mr. Ameen, he

22                 has proven that he is not a flight risk through his evidence of family and

23                 community ties.

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1    IV. This Court Should Grant Mr. Ameen’s Immediate Release or, in the Alternative,
     Order a New Bond Hearing
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            169.   This Court should order Mr. Ameen’s immediate release because no reasonable
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                   decision-maker could conclude that the government has met its burden of
4
                   showing that Mr. Ameen is a danger to the community or a flight risk. In
5
                   addition, Mr. Ameen will never receive a full and fair hearing before the
6
                   Department of Justice.
7
            170.   It would be futile for this Court to order the immigration judge to conduct a new
8
                   bond hearing using the correct burden of proof.
9
            171.   The immigration judge already concluded that the government could not meet
10
                   its burden with respect to the factual allegations that implicate danger to the
11
                   community.
12
            172.   No reasonable decision-maker could conclude that the government has proven
13
                   that Mr. Ameen is a flight risk. Any risk of flight can be mitigated with a bond,
14
                   electronic monitoring, and other conditions of release.
15
            173.   Thus, Mr. Ameen requests that this Court order his immediate release on
16
                   conditions the Court deems reasonable and necessary.
17
            174.   In the alternative, Mr. Ameen requests that the Court order a new bond hearing
18
                   with the correct burden of proof.
19
            175.   At this bond hearing, the Court should instruct the immigration judge to
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                   consider all of the evidence in the bond record.
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            176.   In addition, the Court should instruct the immigration judge to equally apply
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                   laws governing admissibility and weight of evidence to both parties.
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1           177.    Furthermore, this Court should instruct the immigration judge to consider

2                   alternatives to detention in her new determination on flight risk as required by

3                   the Due Process Clause.

4                                       CLAIMS FOR RELIEF

5                       DUE PROCESS CLAUSE – FIFTH AMENDMENT

6           178.    Petitioner reasserts and incorporates by reference each and every allegation in

7                   the previous paragraphs.

8           179.    Petitioner’s right to procedural due process was violated when the immigration

9                   judge put the burden of proof on him at his bond hearing rather than requiring

10                  the government to prove he was a danger to the community or a flight risk by

11                  clear and convincing evidence.

12          180.    Petitioner’s right to due process was violated when the immigration judge held

13                  his evidence to a higher standard than the government’s evidence.

14          181.    Petitioner’s right to due process was further violated because the immigration

15                  judge did not consider alternatives to detention as required by the Due Process

16                  Clause.

17                 IMMIGRATION AND NATIONALITY ACT 8 U.S.C. § 1226(a)

18          182.    Petitioner realleges and incorporates by reference each and every allegation

19                  contained in the preceding paragraphs as if set forth fully herein.

20          183.    The immigration judge’s requirement that Mr. Ameen carry the burden of proof

21                  in his initial bond hearing violated § 1226(a) because it contravened

22                  Congressional intent in drafting the statute, which explicitly places the burden

23                  on the noncitizen under § 1226(c)(2) but not § 1226(a).

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1           184.   Congress is presumed to know of agency interpretations of statutes when

2                  drafting. By replacing former § 1252(a)(1) with the nearly identical §1226(a),

3                  Congress adopted the presumption against detention established by the Board of

4                  Immigration Appeals.

5           185.   The immigration judge therefore erred when she required Mr. Ameen to bear

6                  the burden of proof in his § 1226(a) bond hearing because to do so was in

7                  violation of the statute. The immigration judge also committed legal error in the

8                  flight risk and dangerousness determinations.

9                                       PRAYER FOR RELIEF

10          WHEREFORE, the Petitioner asks this Court:

11          186.   To assume jurisdiction over this matter;

12          187.   Order Mr. Ameen released on conditions of release deemed appropriate and

13                 necessary by the Court;

14          188.   In the alternative, order the immigration judge to conduct a new constitutionally

15                 adequate bond hearing;

16          189.   Award attorneys’ fees and costs pursuant to the Equal Access to Justice Act, 28

17                 U.S.C. § 2412; and

18          190.   Grant other relief as the Court deems just and proper under the law.

19   Dated: January 10, 2022

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21
                                          Respectfully Submitted,
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23                                        /s/ Ilyce Shugall

24                                        ILYCE SHUGALL


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1                                           VERIFICATION

2    I, Ilyce Shugall, declare under penalty of perjury that, on information and belief, the factual

3    statements in the foregoing Petition for Habeas Corpus are true and correct.

4

5                                                                  /s/ Ilyce Shugall

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